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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                                   CASE NO.: 1:23-CV-22385-RKA

  THE SMILEY COMPANY SPRL,

         Plaintiff,

  v.

  THE INDIVIDUALS, PARTNERSHIPS AND
  UNINCORPORATED ASSOCIATIONS
  IDENTIFIED ON SCHEDULE “A,”

         Defendants.
                                                      /

                      PLAINTIFF’S MOTION TO STRIKE ANSWER [D.E. 24]

         Plaintiff The Smiley Company SPRL, by and through its undersigned counsel, pursuant to

  Fed. R. Civ. P. 12(f) hereby moves to Strike the Answer filed by Yinsu Zhou on behalf of

  Defendant No. 296 “sugarkittenlondon” [D.E. 24], and in support thereof states as follows:

         1.      On July 25, 2023, an individual by the name of “Yinsu Zhou” filed an Answer on

  behalf of Defendant No. 296 “sugarkittenlondon.”

         2.      In the top left corner of the Answer, Yinsu Zhou indicates that “Defendant is self-

  represented” and lists a contact email address of help@sugarkittenlondon.com.

         3.      A review of the website operating at the domain name sugarkittenlondon.com

  reveals that “sugarkittenlondon.com (“site”) is a trading name of Bisbie ltd…We are a limited

  company, incorporated in the UK, with limited company number 11990417 and vat registration

  number GB324495789. Our registered office and trading address is 6 Corrigan Court, Granville

  Gardens, London W5 3PA.” Attached as an exhibit to this motion is a true and correct printout

  from this defendant’s website.
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         4.      It is a well-settled principal of law that a corporation cannot appear pro se and must

  be represented by counsel. Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385-86 (11th Cir. 1985).

  “Because corporations cannot appear pro se, the Court must strike any pleading submitted by a

  pro se corporate Defendant.” Nerestant v. ASN Faith Corp., 18-cv-22810-JEM, 2018 WL

  11466501, at *1 (S.D. Fla. Nov. 29, 2018).

         WHEREFORE, Plaintiff respectfully requests that the Court strike the Answer filed on

  behalf of Defendant No. 296 “sugarkittenlondon” [D.E. 24] and order this defendant to obtain

  counsel within twenty (20) days of this Court’s order.



                               L.R. 7.1(a)(3) Certification Statement

         The undersigned certifies that counsel for Plaintiff has made reasonable efforts to confer

  with the individual who filed an Answer on behalf of Defendant No. 296 “sugarkittenlondon” but

  has been unable to do so. On August 25th, the undersigned contacted this individual by email at

  the address help@sugarkittenlondon.com. This is the email address identified on the Answer [D.E.

  24], and through this email address the individual “Yinsu Zhou” previously corresponded with the

  undersigned. The undersigned included a copy of the motion and requested a reply from the

  individual on or before August 28th. No response was received. Plaintiff respectfully submits that

  this is a reasonable effort in compliance with L.R. 7.1(a)(3). Alternatively, Plaintiff respectfully

  submits that L.R. 7.1(a)(3) is inapplicable because this individual is not a “counsel” pursuant to

  L.R. 1.1 because, as explained in this motion, this defendant cannot appear pro se.



         Date: August 29, 2023                          Respectfully submitted by,

                                                        THE BRICKELL IP GROUP, PLLC
                                                        1101 Brickell Avenue

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                                                     /s/ A. Robert Weaver
                                                     A. Robert Weaver
                                                     Fla. Bar No. 92132
                                                     Email: rweaver@brickellip.com

                                                     Counsel for Plaintiff


                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

  Electronic Mail on August 29, 2023 on all counsel or parties of record via CM/ECF filing. An as-

  filed courtesy copy has also been e-mailed to help@sugarkittenlondon.com.


                                                             /s/ A. Robert Weaver
                                                             A. Robert Weaver




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